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                        MILMAN LABUDA LAW GROUP PLLC
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                                       LAKE SUCCESS, NY 11042
                                               _________

                                      TELEPHONE (516) 328-8899
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                                                                               August 15, 2023
  VIA E-MAIL
  Anthony Deo
  c/o Harry R. Thomasson, Esq.
  3280 Sunrise Highway, Box 112
  Wantagh, NY 11793-4024

         Re:     Superb Motors Inc., Anthony Deo and Sarah Deo

  Dear Mr. Thomasson:

          This office represents Superb Motors Inc. (hereinafter the “Dealership”) and Robert
  Anthony Urrutia (hereinafter “Urrutia”). We write in furtherance of our demand that all vehicles
  be returned.

          Nissan Motor Acceptance Corporation (“NMAC”) seeks access to audit all vehicles on its
  line and has requested daily access to all said vehicles.

         Similarly, Next Gear Capital (“Next Gear”) is requesting that all vehicles on its line be
  returned to the main lot in Freehold. See copy of email correspondence annexed hereto.

          Your failure to comply with the requests of NMAC and Next Gear creates the risk of
  irreparable harm to the Dealership. We therefore demand you immediately confirm compliance,
  especially in light of your prior written representations that you are cooperating with the audits by
  NMAC and Next Gear.

  Dated: Lake Success, New York
         August 15, 2023                        Regards,

                                                MILMAN LABUDA LAW GROUP PLLC

                                                /s/ Emanuel Kataev, Esq._________________
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                                                Attorneys for Superb Motors Inc.
                                                and Robert Anthony Urrutia
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